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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                     *
                                              *
         v.                                   *    CRIMINAL NO. PX-19-181
                                              *
 RONDELL HENRY,                               *
                                              *
                  Defendant                   *
                                              *
                                           *******

                         MOTION TO WITHDRAW DOCUMENT

        The United States of America, by and through its attorneys, hereby moves to withdraw

ECF No. 24 (Consent Motion to Exclude Time Pursuant to 18 U.S.C. § 3161) or, in the alternative,

to deny ECF No. 24 as moot. The Government will shortly file a new consent motion to exclude

time.



                                                Respectfully submitted,

                                                Robert K. Hur
                                                United States Attorney

                                          By:              /s/
                                                Thomas P. Windom
                                                Assistant United States Attorney
